USCA4 Case
      Appeal: 22-1773   Doc:Doc
           20-01190-5-JNC    6 480 Filed: 10/06/2022Entered
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                                                                  FILED: October 6, 2022

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                          No. 22-1773
                                      (5:22-cv-00169-FL)
                                     ___________________

         WILSON ORGANIC FARM SERVICES INC., d/b/a Wilson Farm Services,
         d/b/a Lee T. Wilson, Jr.

                     Debtor - Appellant

         v.

         BRIAN CHARLES BEHR, Bankruptcy Administrator

                     Appellee

         JOSEPH ZACHARY FROST, Ch. 11 Trustee

                     Trustee

                                     ___________________

                                          ORDER
                                     ___________________

              The court dismisses this proceeding for failure to prosecute pursuant to

        Local Rule 45.

                                              For the Court--By Direction

                                              /s/ Patricia S. Connor, Clerk




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